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       5   SPECIAL MASTER

       6

       7
                                           UNITED STATES DISTRICT COURT
       8
                                         NORTHERN DISTRICT OF CALIFORNIA
       9
                                                     OAKLAND DIVISION
     10
     11    SHENZHENSHI HAITIECHENG                               Case No. 4:15-cv-00797 JST (SK)
           SCIENCE AND TECHNOLOGY CO., LTD., a
     12    People’s Republic of China corporation,
     13                     Plaintiff,
                                                                 SPECIAL MASTER’S ORDER NO. 8:
     14           and
                                                                 STIPULATED ORDER RE MISUSE
           VIRTUE GLOBAL HOLDINGS LIMITED, a                     OF MOVA TRADEMARK
     15    business company incorporated in the British
           Virgin Islands,
     16
                           Intervenor,
     17           v.

     18    REARDEN, LLC, a California Limited Liability
           Company; REARDEN MOVA, LLC, a
     19    California Limited Liability Company; MO2,
           LLC, a California Limited Liability Company;
     20    and MOVA, LLC, a California Limited Liability
           Company,
     21
                            Defendants.
     22

     23
           AND RELATED COUNTERCLAIMS.
     24

     25

     26             Counsel for defendant Rearden and third-party XRSPACE have submitted a stipulated
     27    Order [ECF 579-1], and asked the Special Master recommend that Judge Tigar sign it. The
     28    Special Master has reviewed the Order, considered all the circumstances, and for the following

                                                             1
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       1   reasons now recommends that Judge Tigar approve, sign and file a revised Order attached as

       2   Exhibit A.

       3                                                     Background

       4            The Court has previously ruled that Rearden is the sole owner of the MOVA trademark.

       5   [ECF No. 427, 15:15-17; ECF No. 449, 1:17]. The Court has made no findings regarding the

       6   validity, scope or geographic reach of that trademark because such findings are outside the issues

       7   and evidence presented to it.

       8            On June 4, 2020, Rearden filed its Second Motion to Enforce Judgment [ECF No. 552]
       9   that sought, in part, a finding that a Taiwanese company, XRSPACE, had actively participated in

     10    violating the Court’s orders by improperly using the MOVA trademark. XRSPACE filed its
     11    Opposition on July 27, 2020 [ECF 560]. The Court referred the motion to the Special Master.

     12    [ECF No. 558] On August 14, 2020 the Special Master issued his Order No. 3 finding that two

     13    other non-parties were subject to the Court’s orders and had actively participated in violating

     14    them, but found there was insufficient evidence to find that XRSPACE had violated those orders.

     15    [ECF No. 565]

     16             On August 28, 2020 Rearden filed a further motion to allow it to properly serve and

     17    conduct jurisdictional discovery against XRSPACE, and asking the Court to sign and file a
     18    proposed Order. On October 13, 2020 the Special Master issued his Order No. 7 ruling on that

     19    motion. Rearden and XRSPACE then entered into negotiations, and have reached a settlement

     20    that includes the Stipulation and [Proposed] Order Regarding Use of “MOVA” that is at issue

     21    here.

     22                                                       Analysis

     23             The stipulated Order requires all persons upon whom it is served to cease using the mark

     24    MOVA in connection with XRSPACE and its products. The parties’ intent is to minimize

     25    potential confusion on websites, search results, industry publications, advertising and like venues

     26    as to whether MOVA refers to Rearden and its products, or to XRSPACE. XRSPACE has ceased

     27    all use of the name MOVA, and now both parties desire to avoid such confusion. They believe

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                                                                 2
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       1   that a Court order will make it easier for them to persuade websites and advertisers and others to

       2   take steps to eliminate all references that link MOVA to XRSPACE.

       3            The Special Master concludes that the Order is consistent with the intent of this Court to

       4   ensure that the trademark MOVA is owned and used solely by Rearden. Rearden has provided

       5   competent evidence that, as a result of XRSPACE’s short-lived publicity campaign featuring its

       6   “MOVA headset,” there are hundreds or thousands of references on the internet to MOVA as a

       7   product of XRSPACE — and that this causes significant confusion when performing searches for

       8   MOVA as a name for Rearden’s products. [Perlman Decl.. ECF 567-2] The Special Master
       9   concludes that a “cleanup order” of this sort may materially assist the parties in lessening the

     10    likelihood of confusion. Since all parties stipulate to the Order (or in the case of plaintiff VGH do
     11    not object), issuance of the Order is unopposed.

     12             The Order purports to require “all persons upon whom this Order is served [to] take all

     13    necessary steps to stop using the MOVA brand or trademark in reference to XRSPACE or its

     14    products or services.…” The Special Master has concerns whether such an Order directing

     15    unknown non-parties to perform specific acts is within the Court’s power. The proposed Order is

     16    not limited geographically, and Rearden’s right to enforce its trademark outside the United States

     17    has not been established. The Court surely has inherent power to manage its courtroom and to
     18    ensure obedience to its orders, including this Court’s orders finding Rearden to be the sole owner

     19    of the MOVA name. Aloe Vera of America, Inc. v. U.S., 376 F.3d 960, 964-965 (9th Cir. 2004).

     20    Moreover, “innocent infringers” such as internet service providers may be liable for improper use

     21    of trademarks. Gucci America, Inc. v. Hall & Assoc., 135 F.Supp.3d 409, 419 (S.D.N.Y. 2001).

     22    However, notwithstanding the Special Master’s specific request, the parties have not provided any

     23    authority for an Order that purports to require non-parties — absent a finding that they have

     24    knowledge of the Court order and have actively participated with an enjoined party — to take an

     25    action or cease from acting.1 Without such authority the Special Master declines to recommend

     26    issuance of the stipulated Order in the form proposed.

     27
           1
             Neither Aloe Vera nor Gucci, the only cases cited in Rearden’s motion, involved orders requiring compliance by
     28    non-parties, and consequently do not afford the Court with relevant legal authority.

                                                                    3
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       1            Therefore, the Special Master recommends that the Court enter a more limited Order in

       2   the form attached hereto as Exhibit A. Hopefully this Order, more consonant with the Court’s

       3   jurisdiction and powers, will have a nearly equivalent beneficial effect of inducing third parties to

       4   remove references to MOVA as linked to XRSPACE. The parties are directed to revise their

       5   Stipulation and Order to conform to Exhibit A (and in the process correct the typographical

       6   errors) and present it to the Court for signature in conformance with this Order.

       7
                     10/29/2020
       8   Dated:
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                                                                 _________________________________
     10                                                          Martin Quinn, Special Master
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                                      EXHIBIT A
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                                          EXHIBIT A to Special Master’s Order No. 8

            STIPULATION AND [PROPOSED] ORDER RE USE OF “MOVA”


            Copy existing Stipulation language (with typos corrected), and re-sign the Stipulation.

                                                      [PROPOSED] ORDER

                 The Court APPROVES the Parties’ stipulation and therefore now ORDERS and
            ADJUDGES as follows:

                    All persons upon whom this order is served are hereby notified that the Court has
            previously found that Rearden LLC is the sole owner of the MOVA brand name and trademark,
            and that Rearden and XRSPACE have agreed that any use of MOVA in connection with
            XRSPACE and its products or services is improper. This applies to use of the MOVA name in
            all forms including, but not limited to, product and service branding and labeling; trademark,
            service mark and trade name filings; Internet references, including but not limited to websites,
            search results, indexes, Wikis, blogs, archives, URLs, hyperlink text, alt text, key words,
            advertising keywords, comments and source code; marketing and sales materials; press
            materials, releases, briefings and publications; social media; images; audio and video.

                     IT IS SO ORDERED.


                                                                 ______________________________
                                                                 Hon. Jon S. Tigar
                                                                 District Court Judge
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                                   PROOF OF SERVICE BY E-Mail

          Re: Shenzhenshi Haitiecheng Science and Technology Co., Ltd. vs. Rearden LLC, et al.
                                      Reference No. 1100105909

           I, Sandra Chan, not a party to the within action, hereby declare that on October 29, 2020, I

served the attached SPECIAL MASTER'S ORDER NO. 8: STIPULATED ORDER RE MISUSE OF on the

parties in the within action by electronic mail at San Francisco, CALIFORNIA, addressed as follows:


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   MO2, LLC                                              Rearden LLC
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  Parties Represented:                                  Parties Represented:
  MO2, LLC                                              XRSPACE Co., Ltd.
  Mova, LLC
  Rearden LLC
  Rearden Mova, LLC


          I declare under penalty of perjury the foregoing to be true and correct. Executed at San

Francisco, CALIFORNIA on October 29, 2020.



_________________________________
Sandra Chan
JAMS
SChan@jamsadr.com
